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                          THE LAW OFFICES OF ALEXANDRE TURNER, LLC
                           1 5 0 0 WA L N U T S T R E E T, 2 1 S T F L O O R , P H I L A D E L P H I A , P E N N S Y L VA N I A 1 9 1 0 2
March 12, 2021              PHONE: (267) 225-6628 WEB: ALEXANDRETURNER.COM EMAIL: ALEX@NDRETURNER.COM




Via Electronic Mail


The Honorable Paul S. Diamond
14614 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106-1797

RE:    U.S. v. Corey Barkley 20-110

Dear Judge Diamond:

My name is Alex Turner and I am counsel to Corey Barkley. I am writing to request a brief
continuance of the sentencing hearing in this matter, which hearing is scheduled Thursday of
next week, March 17, 2021. I require further time to review the final Pre-Sentence Report with
my client, which report was released yesterday. I believe the time spent in consultation with my
client and in preparation of our sentencing memorandum will streamline the issues which may
be presented at the sentencing hearing.

I anticipate needing an additional three weeks preparation. Accordingly, I request that the
Court consider continuing this matter to the first week of April, if the Court is available.

I have spoken to the counsel for the Government regarding this request and she has no
objection.

I thank the Court in advance for its consideration.


Respectfully,



Alexandre N. Turner
The Law Offices of Alexandre Turner, LLC

cc: AUSA MaryTeresa Soltis
